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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF COLORADO




     UNITED STATES OF AMERICA
                                                                        20-CR-00305-DDD
                                    Plaintiff,
                                                                 NOTICE OF APPEARANCE
                               v.


     MICHAEL AARON TEW,
     KIMBERLEY ANN TEW, and
     JONATHAN K. YIOULOS
                         Defendants.




  NOTICE OF APPEARANCE OF TOR EKELAND AS ATTORNEY FOR DEFENDANT

       To the Clerk of the Court and all parties of record:

       Please take notice that the undersigned attorney is admitted to practice in this Court and

 is retained as counsel for Defendants MICHAEL AARON TEW and KIMBERELY ANN TEW.



                                                              Respectfully submitted,

                                                              /s/ Tor Ekeland

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